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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

      UNITED STATES OF AMERICA                           §
                                                         §
                                                         §                 CASE NO. 6:12-CR-59-JDK
      vs.                                                §
                                                         §
                                                         §
      LATTORIS DEWAUN JACKSON (11).                      §

                    ORDER ADOPTING REPORT AND RECOMMENDATION
                       ON REVOCATION OF SUPERVISED RELEASE

            The Court referred a petition alleging violations of supervised release conditions to United

  States Magistrate Judge K. Nicole Mitchell at Tyler, Texas, for consideration pursuant to

  applicable laws and orders of this Court. The Court has received and considered the Report of the

  Magistrate Judge filed pursuant to such order, along with the record, pleadings, and all available

  evidence.

            At the close of the May 5, 2020 revocation hearing, Defendant and defense counsel signed

  a    standard    form    waiving    the   right   to       object   to    the   proposed   findings   and

  recommendations contained in the Magistrate Judge’s Report, consenting to revocation of

  supervised release and consenting to the imposition of the sentence recommended in the Report.

  Counsel for the government orally waived the right to object to the Report. Defendant also

  waived his right to be present and speak before the District Judge imposes the recommended

  sentence. Therefore, the Court may act on the Report and Recommendation immediately.

            Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

  and the Report of the Magistrate Judge is ADOPTED. It is therefore




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         ORDERED that Defendant’s plea of true to Allegation 1 in the petition is ACCEPTED.

  Based upon Defendant’s plea of true to Allegation 1 in the petition, the Court finds that Defendant

  violated the conditions of his supervised release. It is further

         ORDERED that Lattoris Dewaun Jackson’s supervised release is REVOKED. Judgment

  and commitment will be entered separately, in accordance with the Magistrate Judge’s

  recommendations. It is finally

         ORDERED that Defendant be committed to the custody of the Bureau of Prisons for a

  term of imprisonment of 13 months with no further supervised release. The Court recommends

  service of sentence at FCI Texarkana.

         So ORDERED and SIGNED this 6th              day of May, 2020.



                                                     ___________________________________
                                                     JEREMY D. KERNODLE
                                                     UNITED STATES DISTRICT JUDGE




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